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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW
YORK,

               Plaintiff,

V.                                                           Civil Action No. 3:13CV808

SYMANTEC CORPORATION,

               Defendant.


                                             ORDER


        This matter is before the Court on Columbia's Unopposed Motion to Reopen

Proceedings, (ECF No. 179), which pursuant to the Couil's October 24, 2017 Order, requests the

Court to reopen the case, return the Court to the court's active docket and to set the matter for a
pretrial conference. There being no objection by the parties and it seeming proper so to do, it is |
ORDERED the Clerk is DIRECTED to reopen this case and place on the Court's active docket.

This matter will be placed on the Court's pretrial schedule in its normal course.

        It is so ORDERED.

                                                                                n
                                                                   M. Haaj i^lL^ud.
                                                              United State^DykriCT Judge

Richmond, Virginia
Date:
